                 Case 14-50977-BLS           Doc 78     Filed 04/14/17      Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11
REVSTONE INDUSTRIES, LLC, et al.,1                              Case No. 12-13262 (BLS)
                             Reorganized Debtors.               Jointly Administered

FRED C. CARUSO, solely in his capacity as                       Adv. No. 14-50977 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
SCOTT R. HOFMEISTER, et al.,
                             Defendants.

FRED C. CARUSO, solely in his capacity as                       Adv. No. 14-50984 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
SCOTT R. HOFMEISTER, et al.,
                             Defendants.


           TRUSTEE’S APPENDIX OF EXHIBITS IN SUPPORT OF MOTION FOR
         SUMMARY JUDGMENT AGAINST DEFENDANT SCOTT R. HOFMEISTER


          Plaintiff Fred C. Caruso, solely in his capacity as the Revstone/Spara Litigation Trustee

for the Revstone/Spara Litigation Trust (the “Trustee”), successor in interest to Revstone

Industries, LLC and Spara, LLC in the above-captioned adversary proceedings, respectfully

submits this appendix of exhibits in support of the Trustee’s Motion for Summary Judgment



1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification
numbers are: Revstone Industries, LLC (7222); Spara, LLC (6613); Greenwood Forgings, LLC (9285);
and US Tool & Engineering, LLC (6450). The location of the Debtors’ headquarters and the service
address for each Debtor is: Revstone Industries, LLC, et al., c/o Huron Consulting Group Inc., PO Box
1720, Birmingham, MI 48012, Attn: John C. DiDonato, Chief Restructuring Officer.


DOCS_LA:305256.1 73864/030
                 Case 14-50977-BLS          Doc 78      Filed 04/14/17   Page 2 of 3



Against Defendant Scott R. Hofmeister, filed concurrently herewith.2 The exhibits submitted by

the Trustee are attached hereto as follows:


Exhibit No.        Description of Exhibit                                       Appendix Pages

A                  Revstone Complaint: Complaint to Avoid and Recover         A001-A014
                   Fraudulent Transfers, Unauthorized Post-Petition Transfers
                   and Related Relief [D.I. 1] and Exhibit 1 to Complaint to
                   Avoid and Recover Fraudulent Transfers, Unauthorized
                   Post-Petition Transfers and Related Relief [D.I. 5] in the
                   Revstone Action


B                  Spara Complaint: Complaint to Avoid and Recover              A015-A024
                   Fraudulent Transfers and Related Relief [D.I. 1] in the
                   Spara Action


C                  Revstone Expert Designation: Trustee’s Initial Expert        A025-A030
                   Witness Designation in the Revstone Action


D                  Revstone Expert Report: Initial Expert Report of James M.    A031-A201
                   Lukenda Regarding Revstone Industries, LLC


E                  Spara Expert Designation: Trustee’s Initial Expert Witness   A202-A205
                   Designation in the Spara Action


F                  Spara Expert Report: Initial Expert Report of James M.       A206-A242
                   Lukenda Regarding Spara, LLC


G                  Excerpts from Transcript of December 15, 2016 Deposition     A243-A293
                   of Scott R. Hofmeister (“Hofmeister Deposition”) the
                   Revstone Action and Spara Action


H                  June 29, 2011 Wire Confirmation – Ex. 4 to the Hofmeister    A294-A295
                   Deposition


I                  November 15, 2011 Email Chain – Ex. 7 to the Hofmeister      A296-A298
                   Deposition


2
  Capitalized terms not otherwise defined herein have the meanings ascribed to such terms in the
Trustee’s Opening Brief in Support of Motion for Summary Judgment Against Defendant Scott R.
Hofmeister, filed concurrently herewith.

                                                  -2-
DOCS_LA:305256.1 73864/030
                 Case 14-50977-BLS          Doc 78     Filed 04/14/17    Page 3 of 3




Exhibit No.        Description of Exhibit                                       Appendix Pages

J                  Excerpts from 2012 Payroll Register for Revstone             A299-A301
                   Industries, LLC


K                  February 27, 2012 Email Chain – Ex. 8 to the Hofmeister      A302-A303
                   Deposition


L                  April 2, 2012 Email Chain – Ex. 9 to the Hofmeister          A304-A305
                   Deposition


M                  June 18, 2012 Email Chain – Ex. 10 to the Hofmeister         A306-A309
                   Deposition




Dated: April 14, 2017                           PACHULSKI STANG ZIEHL & JONES LLP


                                                /s/ Colin R. Robinson
                                                Laura Davis Jones (Bar No. 2436)
                                                Alan J. Kornfeld (CA Bar No. 130063)
                                                Elissa A. Wagner (CA Bar No. 213589)
                                                Colin R. Robinson (Bar No. 5524)
                                                919 North Market Street, 17th Floor
                                                P.O. Box 8705
                                                Wilmington, DE 19899-8705 (Courier 19801)
                                                Telephone: (302) 652-4100
                                                Facsimile: (302) 652-4400
                                                Email: ljones@pszjlaw.com
                                                        akornfeld@pszjlaw.com
                                                        ewagner@pszjlaw.com
                                                        crobinson@pszjlaw.com

                                                Counsel for the Revstone/Spara Litigation Trustee




                                                 -3-
DOCS_LA:305256.1 73864/030
